Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 1 of 28




          Exhibit A
Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 2 of 28




      Comparative
     Market Analysis


                                   Q.—             If




                                    paa
                                           .7.




      Mack Washington Lane, Hempstead, Texas
                      77445

              John Lewis Jr. Receiver
                               MAY 9, 2023




                             Mark Dimas
                           Mark Dimas Properties
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 3 of 28
Comparative Market Analysis                                                               Mack Washington Lane, Hempstead, Texas 77445


Map of Comparable Listings

                                                                                                                       9
                                                                                                                      ag nolia
                                                                                                                                   1488




                                                                                                                                   [ 1774


                                                                                  1441

                          Ro1.1,511.9 Hills                  Rada tore
                                                                                                             '4 464            r



                                                                                                                                   Sta    gem ac h



                                                                                         Regar


    Hempstea
           19       11\   ,
                                        9
                                       Prairie View



                   p,m29
                                                                                                                      ( 2420
                                                      2913
                                                                         2921:1
                          IsLand                              Wailer                                                                        94




                                                                                                                         STATUS:            = SOLD



         MLS #     STATUS      ADDRESS                                                      BEDS     BATHS            SQFT                   PRICE


1     Subject        *         Mack Washington Lane, Hempstead, Texas 77445

2   93821722         O          40647 Fm 1488                                                         0/0                           $2,000,000

3   87998632         O          Tbd Fm 1098                                                           0/0                            $500,000

4   37569686         O          Tbd Fm 1488                                                           0/0                           $1,759,622

5   60300048         O          37642 Brumlow Road                                               3   2.00         2,964             $1,050,000

6   16380255         O          0 Fm 1488 Road                                                        0/0                            $438,000




                 Mark Dimas
                 Mark Dimas Properties
                 Cell: 832-684-7691
                 mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                                 2
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 4 of 28
Comparative Market Analysis                                                    Mack Washington Lane, Hempstead, Texas 77445


Summary of Comparable Properties
      SOLD LISTINGS
ADDRESS                                         SOLD DATE       BEDS   BATHS    SQFT                   PRICE        $/SQ.FT


40647 Fm 1488                                  10/11/22                 0/0                      $2,000,000
Tbd Fm 1098                                      9/26/22                0/0                        $500,000
Tbd Fm 1488                                      8/19/22                0/0                      $1,759,622
37642 Brumlow Road                               6/29/22          3    2.00    2,964             $1,050,000           $354
0 Fm 1488 Road                                    9/8/22                0/0                        $438,000

Averages                                                                       2,964             $1,149,524          $354




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                         3
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 5 of 28
Comparative Market Analysis                                                                Mack Washington Lane, Hempstead, Texas 77445


Comparable Home                                                                                                   MLS #93821722




 •
                                                                  40647 Fm 1488                                 $2,000,000
                                                                  Hempstead, Texas 77445                                SOLD 10/11/22



                                                                  Beds             0/0 Baths                  Days on market: 31




Features
Acres Desciption: 15 Up to        List Type: Exclusive Right to      Road Surface: Asphalt
20 Acres                          Sell/Lease                         Water Sewer: No Sewer, No
Disclosures: No Disclosures       Pool Private: False                Water


Details
Prop Type: Country Homes/         Lot Size (sqf-t): 760,696          List Price: $2,250,000             Middle: Hempstead Middle
Acreage                           List date: 8/8/22                  Orig list price: $2,250,000        School
County: Waller                    Sold date: 10/11/22                Taxes: $24                         Elementary: Hempstead
Area: 26                                                                                                Elementary School
                                  Off-market date: 9/8/22            School District: 24
Subdivision: Wail Justo           Updated: Oct 16, 2022 4:41         Hempstead
Liendo Sury Abs #41               PM                                 High: Hempstead High
Acres: 17.4632                                                       School


Remarks
This 17.4632-acre property is a prime location for your country home or new/expanding commercial venture. Located in
the highly desirable northwestern section of Waller County on FM 1488 at the intersection of US Hwy 290 and Hwy 6, it is
within minutes of the new RCR Hempstead Logistics Park, Prairie View A&M University, and the Prairie View Cricket Fields,
as well the nearly Wolfe Companies 521-acre development in Waller and the Daiken Manufacturing Plant in Hockley. This
location is also situated at a pivotal point to provide easy access to the rapidly expanding Houston, Woodlands, College
Station / Bryan, and Austin communities. The site offers an advantageous elevation, approximately 447 ft of road
frontage, and the availability of City of Hempstead utilities. Call to schedule an appointment today.



Courtesy of Hegemeyer Realty & Associates


               Mark nirn2c
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                     4
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 6 of 28
Comparative Market Analysis                                     Mack Washington Lane, Hempstead, Texas 77445




Information is deemed reliable but not guaranteed.




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
                                                                                                          5
               mark@markdimasteam.com I www.markdimasteam.com
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 7 of 28
Comparative Market Analysis                                                             Mack Washington Lane, Hempstead, Texas 77445


40647 Fm 1488                              Hempstead, Texas 77445                                                  MLS #93821722


$2,000,000                                                            Beds 0/0 Baths                        Days on market: 31
SOLD 10/11/22                                                         Days on market: 31




                                                                                                         I *




                                                                                                               a




                                                             -. 111      -
                                                                                  - -
                                                                                                                            t




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                  6
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 8 of 28
Comparative Market Analysis                                         Mack Washington Lane, Hempstead, Texas 77445


40647 Fm 1488                              Hempstead, Texas 77445                          MLS #93821722




                                                                                 \t"




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                              7
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 9 of 28
Comparative Market Analysis                                                                 Mack Washington Lane, Hempstead, Texas 77445


Comparable Home                                                                                                    MLS #87998632




                                                      _MS




                                                                  Tbd Fm 1098                                       $500,000
                                                                  Hempstead, Texas 77445                                  SOLD   9/26/22



                                                                  Beds             0/0 Baths                   Days on market: 34


                                          wariast,




Features
Acres Desciption: 10 Up to        List Type: Exclusive Right to      Road Surface: Asphalt
15 Acres                          Sell/Lease                         Water Sewer: No Sewer, No
Disclosures: No Disclosures       Pool Private: False                Water


Details
Prop Type: Country Homes/         Lot Size (sqf-t): 584,374          List Price: $525,000                Middle: Schultz Junior High
Acreage                           List date: 6/8/22                  Orig list price: $525,000           School
County: Waller                    Sold date: 9/26/22                 Taxes: $50                          Elementary: H T Jones
Area: 26                                                                                                 Elementary School
                                  Off-market date: 7/12/22           School District: 55 Waller
Subdivision: Other                Updated: Sep 28, 2022 6:57         High: Waller High School
Acres: 13.4154                    AM


Remarks
In the heart of rapidly expanding area of northern Waller County, this prime 13+/- acre tract is the perfect site for your new
county home, growing business venture, or as an addition to your investment portfolio. Unrestricted and ag exempt, it
qualifies for a favorable tax rate. While outside the congestion of the big city, it offers easily accessible connections to the
metropolitan areas of Bryan-College Station, Houston, Austin, and The Woodlands, and Austin via SH 6, US 290, and FM
1488. Additionally, it is only a short drive away from the new Hempstead Logistics Park, Daiken Manufacturing Plant in
Hockley, and the Wolff Company Beacon Hill project in Waller. The propertys rural atmosphere, coupled with convenient
access for clientele, make it an excellent choice for a variety of uses. Call today and come explore the unique possibilities
this site has to offer. The property is cleared and visible from the road.




               Mark nirn2c
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                       8
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 10 of 28
Comparative Market Analysis                                     Mack Washington Lane, Hempstead, Texas 77445




Courtesy of Hegemeyer Realty & Associates
Information is deemed reliable but not guaranteed.




               Mark nirn2c
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                          9
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 11 of 28
Comparative Market Analysis                                                                      Mack Washington Lane, Hempstead, Texas 77445


Tbd Frn 1098                         Hempstead, Texas 77445                                                             MLS #87998632


$500,000                                                             Beds 0/0 Baths                                  Days on market: 34
SOLD 9/26/22                                                         Days on market: 34


                                                                               • ";_=1,41iiii:
                                                                      J4...„=„ 4
                                                                                   AC
                                        `.=




          -1;




                                                           -     -40 04 1* -4410 %VAN




                                               'Attee".'




                              .•




                Mark Dimas
                Mark Dimas Properties
                Cell: 832-684-7691
                mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                          10
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 12 of 28
Comparative Market Analysis                                          Mack Washington Lane, Hempstead, Texas 77445


Tbd Frn 1098                        Hempstead, Texas 77445                                  MLS #87998632




                                                                4r
                                                                             .41




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                              11
               Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 13 of 28
Comparative Market Analysis                                                                  Mack Washington Lane, Hempstead, Texas 77445


Comparable Home                                                                                                     MLS #37569686




                                           -AC



                                                                    Tbd Fm 1488                                   $1,759,622
                                                          _4A
                                                                    Hempstead, Texas 77445                                 SOLD   8/19/22
                                     a.,



                                                                    Beds             0/0 Baths                Days on market: 108

           --r-11-45410




Features
Acres Desciption: 50 or more        List Type: Exclusive Right to      Road Surface: Concrete
Acres                               Sell/Lease                         Water Sewer: No Sewer, No
Disclosures: No Disclosures         Pool Private: False                Water


Details
Prop Type: Country Homes/           Lot Size (sqf-t): 2,437,269        List Price: $1,850,000             Middle: Schultz Junior High
Acreage                             List date: 3/30/22                 Orig list price: $2,200,000        School
County: Waller                      Sold date: 8/19/22                 Taxes: $85                         Elementary: H T Jones
Area: 26                                                                                                  Elementary School
                                    Off-market date: 7/16/22           School District: 55 Waller
Subdivision: N/A                    Updated: Aug 19, 2022 3:42         High: Waller High School
Acres: 55.952                       PM


Remarks
This beautiful and well-located 56 acres is perfect for a buy-and-hold, development, or as part of a tax-deferred exchange.
The gently rolling land is about 70% open and 30% wooded. The sandy loam soils are well drained, and there is no flood
plain present. One pond supplies year-round water to livestock and wildlife, and likely could be developed into a beautiful
water feature. Light grazing has left the property in good shape for the cattle tenant. There is approximately 1,500 feet of
frontage on FM 1488 and 800 feet on Mayer Rd at the back of the property. The property is perimeter fenced. Electricity is
available along the road, water well and septic needed. There is a 138-kV Centerpoint Energy transmission line easement
on the property. Sellers own part or all of the mineral estate. Waller ISD. Agricultural tax valuation.



Courtesy of Grand Land Realty, LLC



                 Mark nirn2c
                 Mark Dimas Properties
                 Cell: 832-684-7691
                 mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                      12
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 14 of 28
Comparative Market Analysis                                     Mack Washington Lane, Hempstead, Texas 77445




Information is deemed reliable but not guaranteed.




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                         13
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 15 of 28
Comparative Market Analysis                                                        Mack Washington Lane, Hempstead, Texas 77445


Tbd Frn 1488                         Hempstead, Texas 77445                                                   MLS #37569686


$1,759,622                                                        Beds 0/0 Baths                     Days on market: 108
 SOLD 8/19/22                                                     Days on market: 108




                                                                                                                   ,e.
                                                                       I
                                                          its

                                                                           iii




                                                                 ilr




11111=11             11, '
                                                                       1•111111=




                                                                                                         in


                                                                                                              vJ




                Mark Dimas
                Mark Dimas Properties
                Cell: 832-684-7691
                mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                            14
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 16 of 28
Comparative Market Analysis                                                                                                                  Mack Washington Lane, Hempstead, Texas 77445


Tbd Frn 1488                        Hempstead, Texas 77445                                                                                                          MLS #37569686




                                                                                 .:7:'.,..
                                                                                        1-'4 .i•-•          . 4 ;-•:-V '7:,17 -:-.-: - •''' '-1-. ..
                                                                                  ;Sq. ' ' '              • '' ' '7` .- . ' `4,-- •-' : _i;A::: T'-
                                                                                   4....•• 4-                ..., .--. Ft''...-N .,--r.,:c.646-,1,2.,..", '
                                                                                                      - ...,..fi'.:''.. .f--7,:-.•?••••-:. -•••• -
                                                                                        - '             . 'i —• el.!? -:                         •
                                                                                                                '471.'7.,:--,- -, ..- .- • .
                                                           - '''';',',?•:- LAL':".••Ati:.-....T., . 4-..
                                                                                                                          ••:t1.-.zi.,.......744• ::
                                                       -- "":;-'''-4:''''''''
                                                                . . ' • ''. ' 4: .•411    •.M.-.•    -
                                                                                            . ...:40,rx-.;-. ,,
                                                                                 - ? - 1:...                       ik:u,
                                                                     .:.,.., ;
                                                               ..:-'••••••:. ...     • -:;•:"2,11-''..7 ,r-'




                                                                                                  .r •




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com                                                                                                                         15
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 17 of 28
Comparative Market Analysis                                                                    Mack Washington Lane, Hempstead, Texas 77445


Comparable Home                                                                                                       MLS #60300048




                                                                      37642 Brumlow
                                                                      Road                                          $1,050,000
                                                                      Hempstead, Texas 77445                                 SOLD   6/29/22

             17,


                                                                      3 Beds           2.00 Baths

                                                                      2,964 Sq. Ft. ($354 / sqft)                     Year Built 1974
                                                           ***4


Features
Acres Desciption: 20 Up to            Garage Desc: Detached              Pool Private: False                Tree Desc: Clusters
50 Acres                              Garage                             Range Type: Electric               Water Amenity: Pond
Cool System: Central Electric         Heating: Central Electric          Cooktop                            Water Sewer: Septic Tank,
Disclosures: Sellers                  Improvements: Barn, Fenced,        Road Surface: Asphalt              Well
Disclosure                            Guest House, Pastures              Room Description: Family
Energy: Ceiling Fans                  List Type: Exclusive Right to      Room, Formal Living,
Fireplaces: 1                         Sell/Lease                         Kitchen/Dining Combo,
                                      Lot Desciption: Cleared,           Living Area - 1st Floor, Sun
Floors: Carpet, Tile                                                     Room
                                      Water View
Foundation: Slab                                                         Topography: Rolling
                                      Oven Type: Electric Oven


Details
Prop Type: Country Homes/             Acres: 35.14                       Updated: Jun 29, 2022 9:32         Middle: Waller Junior High
Acreage                               Lot Size (sqf-t): 1,530,698        AM                                 School
County: Waller                        Garages: 1                         List Price: $1,100,000             Elementary: H T Jones
Area: 26                                                                 Orig list price: $1,100,000        Elementary School
                                      List date: 4/26/22
Subdivision: None                     Sold date: 6/29/22                 Taxes: $8,728
Style: ["Traditional"]                Off-market date: 4/26/22           School District: 55 Waller
Full baths: 2.0                                                          High: Waller High School


Remarks
35 unrestricted acres, rolling land with nice views, no flood plain, fenced & cross fenced, pond, 2 wells, 5 septics, barn,
shop unfinished guest quarters (19'x25'), working pens, kennels, chicken coop. Large 3 bedroom, 2 full bath home with
fireplace, 2 living areas & sunroom. Home sits on a hill surrounded by trees. Easy access to Hwy 290 just off FM 359.



                   Mark nirn2c
                   Mark Dimas Properties
                   Cell: 832-684-7691
                   mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                         16
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 18 of 28
Comparative Market Analysis                                     Mack Washington Lane, Hempstead, Texas 77445




Courtesy of Waller County Land Co.
Information is deemed reliable but not guaranteed.




               Mark nirn2c
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                         17
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 19 of 28
Comparative Market Analysis                                                              Mack Washington Lane, Hempstead, Texas 77445


37642 Brumlow Road                                          Hempstead, Texas 77445                                MLS #60300048


$1,050,000                                                             3 Beds 2.00 Baths                  2,964 Sq. Ft. ($354 / soft)
SOLD   6/29/22                                                         Year Built 1974




                                                                                                                   Xi


                                                                          y.
                                                                                                            „N-




                 Mark Dimas
                 Mark Dimas Properties
                 Cell: 832-684-7691
                 mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                  18
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 20 of 28
Comparative Market Analysis                                                        Mack Washington Lane, Hempstead, Texas 77445


37642 Brumlow Road                                        Hempstead, Texas 77445                          MLS #60300048




         - mai
  Lai r..1 lb  r Mt
                              rbr
                                                      for
                              ri
              64111.1111,-




                                                                                                                    oak




                                                                                                                            s.


                                                                                                            .ramoiguirr




                                47,L.,ard




                                                                                             ro•




                                                                                                              •




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                             19
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 21 of 28
Comparative Market Analysis                                          Mack Washington Lane, Hempstead, Texas 77445




                         --""41111e

                                                                       '4.




                                                                                                   -.4011INIS4
                                                                                           a.

                                                                                       4




                                                                a.




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                              20
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 22 of 28
Comparative Market Analysis                                                                 Mack Washington Lane, Hempstead, Texas 77445


Comparable Home                                                                                                    MLS #16380255


                        t




                                                                  0 Fm 1488 Road                                    $438,000
                                                                  Hempstead, Texas 77445                                   SOLD 9/8/22



                                                                  Beds             0/0 Baths                   Days on market: 79




Features
Acres Desciption: 10 Up to        Improvements: Fenced               Lot Desciption: Cleared             Road Surface: Asphalt
15 Acres                          List Type: Exclusive Right to      Pool Private: False                 Water Sewer: No Sewer, No
Disclosures: No Disclosures       Sell/Lease                                                             Water


Details
Prop Type: Country Homes/         Lot Dim: 637X869                   Updated: Sep 12, 2022 5:29          High: Waller High School
Acreage                           Lot Size (sqf-t): 544,500          AM                                  Middle: Schultz Junior High
County: Waller                    List date: 5/10/22                 List Price: $499,500                School
Area: 26                          Sold date: 9/8/22                  Orig list price: $562,500           Elementary: H T Jones
Subdivision: None                                                    Taxes: $15                          Elementary School
                                  Off-market date: 7/28/22
Acres: 12.5                                                          School District: 55 Waller


Remarks
GREAT LOCATION! Cleared & Unrestricted just waiting for you to build your dream home or business! Scattered trees with
excellent FM 1488 road frontage. Bring the cattle or horses. No Flood Plain! Don't miss out on this one! Agents, property is
cleared, open and able to be fully viewed from the road. If you would like to access the property please make an
appointment through showing time and the seller will accompany you due to cattle being on the property.



Courtesy of Waller County Land Co.
Information is deemed reliable but not guaranteed.




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                     21
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 23 of 28
Comparative Market Analysis                                                               Mack Washington Lane, Hempstead, Texas 77445


0 Fm 1488 Road                                   Hempstead, Texas 77445                                          MLS #16380255


$438,000                                                                  Beds 0/0 Baths                      Days on market: 79
SOLD 9/8/22                                                               Days on market: 79




                                                                                 .nr




                                  7.•••••••101




                                                                                                                                     Re




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                   22
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 24 of 28
Comparative Market Analysis                                           Mack Washington Lane, Hempstead, Texas 77445


0 Fm 1488 Road                               Hempstead, Texas 77445                                MLS #16380255




                                     r




                                                                                 ---11. 111,111119114t-
                                                                           '-'     -




                              4 11
                                4 -11111
                                   1 0 ,"




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com    www.markdimasteam.com
                                                                                                               23
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 25 of 28
Comparative Market Analysis                                                   Mack Washington Lane, Hempstead, Texas 77445


Comparable Property Statistics
'     5 Sold Listings

           LOWEST                      AVERAGE                        HIGH
                                                                             AVG PRICE / SQFT          AVG DOM
                                        •
           $438,000                 $1,149,524                  $2,000,000     $354                      63




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                       24
             Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 26 of 28
Comparative Market Analysis                                                           Mack Washington Lane, Hempstead, Texas 77445


Sold Property Analysis

Averages




87 zi-g%
Homes sold for an average of 87.49% of their list price.
                                                                    e                Days on market
                                                                    It took an average of 63 days for a home to sell.




Analysis
ADDRESS                                   ORIG LIST PRICE          SOLD PRICE         % OF ORIG LIST PRICE   DOM        $ PER SQFT


40647 Fm 1488                                $2,250,000           $2,000,000                     88.89%       31
Tbd Fm 1098                                   $525,000             $500,000                      95.24%       34
Tbd Fm 1488                                  $2,200,000           $1,759,622                     79.98%      108
37642 Brumlow Road                           $1,100,000           $1,050,000                     95.45%                      $354
0 Fm 1488 Road                                $562,500             $438,000                      77.87%       79

Averages                                  $1,327,500            $1,149,524                     87.49%         63           $354




               Mark Dimas
               Mark Dimas Properties
               Cell: 832-684-7691
               mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                               25
              Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 27 of 28
Comparative Market Analysis                                                                          Mack Washington Lane, Hempstead, Texas 77445


Suggested List Price




                                 Analysis of the comparable properties suggests a list price of:



                                                 $1, bUIVUU



Comparable Averages per Status

     5 Sold

$1,149,524 $354 / sqft
QED $1,149,524 $354 / sqft
63 Days on Market




Disclaimer
The CMA is a side-by-side comparison of homes for sale and homes that have recently sold in the same neighborhood and price range. This information
is further sorted by data fields such as single-family or condo, number of bedrooms, number of baths, postal codes, and many other factors. Its purpose
is to show fair market value, based on what other buyers and sellers have determined through past sales, pending sales and homes recently put on the
market.




                Mark nirn2c
                Mark Dimas Properties
                Cell: 832-684-7691
                mark@markdimasteam.com I www.markdimasteam.com
                                                                                                                                                     26
  Case 4:22-cv-03359 Document 97-1 Filed on 11/03/23 in TXSD Page 28 of 28




This represents an estimated sale price for this property. It is not the same as the
opinion of value in an appraisal developed by a licensed appraiser under the Uniform
Standards of Professional Appraisal Practice.
